                                                                                 Case 3:08-cv-02912-JSW Document 45 Filed 09/17/08 Page 1 of 1



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                                                                          6                              IN THE UNITED STATES DISTRICT COURT
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                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                          9   NUANCE COMMUNICATIONS INC,
                                                                         10                 Plaintiff,                                No. C 08-02912 JSW
                                                                         11     v.
United States District Court
                               For the Northern District of California




                                                                         12   NUANCE COMMUNICATIONS, INC.,                            ORDER REFERRING ALL
                                                                                                                                      DISCOVERY DISPUTES TO A
                                                                         13                 Defendant.                                MAGISTRATE JUDGE
                                                                                                                            /
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                                                                         15          Pursuant to Local Rule 72-1, all discovery disputes in this matter are HEREBY
                                                                         16   REFERRED to a randomly assigned magistrate judge for resolution. The parties will be
                                                                         17   advised of the date, time and place of appearance by notice from the assigned magistrate judge.
                                                                         18          IT IS SO ORDERED.
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                                                                         20   Dated: September 17, 2008
                                                                                                                                     JEFFREY S. WHITE
                                                                         21                                                          UNITED STATES DISTRICT JUDGE
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